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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 9:20-CV-82296-RUIZ/REINHART


  THERAPEUTICSMD, INC.,

                 Plaintiff,

  v.


  EVOFEM BIOSCIENCES, INC.,

                 Defendant.
                                      /

          INDEX OF THERAPEUTICSMD’S MAY 31, 2022 HEARING EXHIBITS

  Presiding Judge                 Plaintiff’s Attorneys      Defendant’s Attorneys
  Magistrate Bruce E. Reinhart    Joseph W. Bain             Kevin C. Kaplan
                                  Jodi-Ann Tillman           Paul J. Schwiep
                                  Ehab Samuel                Dorothy C. Kafka
                                  Dave Randall               Scott A. Hiaasen
                                                             Josefina M. Aguila-Benna



  Hearing Date                    Court Reporter             Courtroom Deputy
  May 31, 2022


  PLAINTIFF’S
    EXHIBIT                                      DESCRIPTION
      NO.
        1.          TherapeuticsMD’s Initial Disclosures (May 5, 2021)
                    TherapeuticsMD’s Corrected First Amended Initial Disclosures (August 16,
        2.
                    2021)
        3.          TherapeuticsMD’s Second Amended Initial Disclosures (September 7, 2021)

        4.          TherapeuticsMD’s Third Amended Initial Disclosures (September 24, 2021)
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  PLAINTIFF’S
    EXHIBIT                                        DESCRIPTION
      NO.
        5.         TherapeuticsMD’s Fourth Amended Initial Disclosures (September 29, 2021)

        6.         TherapeuticsMD’s Fifth Amended Initial Disclosures (October 19, 2021)

        7.         TherapeuticsMD’s Sixth Amended Initial Disclosures (May 10, 2022)



  Dated: June 2, 2022.                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 2nd day of June 2022, I electronically filed the
  foregoing with the Clerk of Court by using the CM/ECF system which served a copy on the
  following:

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